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   12

   13                       UNITED STATES DISTRICT COURT
   14                      CENTRAL DISTRICT OF CALIFORNIA
   15

   16   JAVIER SANTIAGO, individually           CASE NO.
        and on behalf of all others similarly
   17   situated,
                                                CLASS        ACTION      COMPLAINT
   18         Plaintiff,                        FOR:
   19   v.
                                                      1. Violation of the California
   20   STASH INVESTMENTS LLC, a                         Consumers Legal Remedies
        Delaware limited liability company;
        and DOES 1 to 10, inclusive,                     Act, Cal. Civ. Code §§ 1750, et
   21
                                                         seq.; and
   22         Defendants.                             2. Violation    of   California’s
                                                         Unfair Competition Law, Cal.
   23
                                                         Bus. & Prof. Code §§ 17200, et
   24                                                    seq.
   25
                                                Filed Concurrently:
   26
                                                      1. Plaintiff’s CLRA Venue
   27
                                                         Affidavit
   28
                                                (JURY TRIAL DEMANDED)
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    1          Plaintiff Javier Santiago (“Plaintiff”), individually and on behalf of all others
    2   similarly situated, complains and alleges as follows based on personal knowledge
    3   as to himself, on the investigation of his counsel, and on information and belief as
    4   to all other matters. Plaintiff believes that substantial evidentiary support will exist
    5   for the allegations set forth in this complaint, after a reasonable opportunity for
    6   discovery.
    7                                 NATURE OF ACTION
    8          1.    Plaintiff brings this Class Action Complaint to challenge Stash
    9   Investments LLC’s (“Stash” or “Defendant”) deceptive advertising practices.
   10   Specifically, Stash’s automatic renewal and continuous service offers in connection
   11   with   an    automated    investment     app    it   provides   to   consumers    (e.g.,
   12   https://www.stash.com/automated-investing) violates clearly established law.
   13          2.    Among other things, Stash (a) enrolls consumers in automatic renewal
   14   and continuous service subscriptions without providing clear and conspicuous
   15   disclosures about the program or the associated charges; (b) charges consumers’
   16   credit and debit cards without first obtaining their “affirmative consent” to the
   17   charge; and (c) fails to provide a cost-effective, timely, and easy-to-use mechanism
   18   for cancellation.
   19          3.    In short, Stash’s automatic renewal and continuous service offers
   20   violate California’s Automatic Renewal Law (the “ARL”), Cal. Bus. & Prof. Code
   21   §§ 17600, et seq., which requires companies like Stash to clearly and conspicuously
   22   explain “automatic renewal offer terms.” As a result of these ARL violations, Stash
   23   has violated the California Consumer Legal Remedies Act (the “CLRA”), Cal. Civ.
   24   Code §§ 1750, et seq. See King v. Bumble Trading, Inc., 393 F.Supp.3d 856, 870
   25   (N.D. Cal. 2019) (an ARL violation can form the basis for a CLRA claim); see also
   26   Johnson v. Pluralsight, LLC, 728 F. App’x 674, 676–77 (9th Cir. 2018)
   27   (“[Plaintiff’s] complaint alleges that Pluralsight violated the ARL by charging him
   28   without first providing information on how to cancel the subscription. The record

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    1   also indicates that consumers signing up for trial subscriptions were not specifically
    2   given instructions on how to cancel before payment. This amply satisfies the UCL
    3   requirement that an unlawful business practice be any violation of ‘other laws.’”).
    4         4.     Stash has also violated the CLRA because (a) it “[u]ses[] deceptive
    5   representations . . . in connection with [its] services” and “[a]dvertis[es] . . . [its]
    6   services with [the] intent not to sell them as advertised.” See Cal. Civ. Code §§
    7   1770(a)(4) & (9).
    8         5.     In addition, because Stash’s automatic renewal “business practices”
    9   violate the ARL, they also violate California Business & Professions Code §§
   10   17200 (the “UCL”). See, e.g., Kasky v. Nike, Inc., 27 Cal.4th 939, 950 (2002)
   11   (upholding false advertising claims against Nike; the Supreme Court explained that
   12   the “unlawful” prong of § 17200 makes a violation of the underlying law a per se
   13   violation of the UCL; the court held, “The UCL’s scope is broad. By defining unfair
   14   competition to include any ‘unlawful . . . business act or practice,’ the UCL permits
   15   violations of other laws to be treated as unfair competition that is independently
   16   actionable.”) (emphasis in original); see also Stop Youth Addiction, Inc. v. Lucky
   17   Stores, Inc., 17 Cal.4th 553, 561 (1998), overruled on other grounds in Arias v.
   18   Superior Court, 46 Cal.4th 969 (2009) (holding that § 17200 allows a remedy even
   19   if the underlying statute confers no private right of action). California law is clear
   20   that virtually any law or regulation—here, the ARL—can serve as a predicate for a
   21   § 17200 “unlawful” violation. See People v. E.W.A.P., Inc., 106 Cal.App.3d 315,
   22   319 (1980); Farmers Ins. Exchange v. Superior Court, 2 Cal.4th 377, 383 (1992)
   23   (holding that § 17200 “borrows” violations of other laws and treats them as
   24   unlawful practices independently actionable under § 17200).
   25                                      THE PARTIES
   26         6.     Plaintiff Javier Santiago is and at all relevant times mentioned was
   27   both a resident of Los Angeles County, California and a “consumer,” as defined by
   28   Cal. Civ. Code § 1761(d) and Cal. Bus. & Prof. Code § 17601(d).

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    1         7.      Stash is a Delaware limited liability company with its principal place
    2   of business in New York, New York. Stash is and at all relevant times mentioned
    3   was a “person,” as defined by Cal. Civ. Code § 1761(c).
    4         8.      Stash is an online and mobile financial service. The company offers
    5   a variety of financial products, including the ability to buy different stocks, index
    6   funds, investment advice from a personal advisor, life insurance, and debit cards.
    7   On information and belief, Stash earns money through subscription fees.
    8   According to its website, Stash has more than 6 million users, more than 500
    9   employees, and has raised more than $450 million in venture capital:
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        See https://www.stash.com/about.
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              9.      Plaintiff does not know the true names or capacities of the persons
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        or entities sued as DOES 1 to 10, inclusive, and therefore sues such Defendants by
   18
        such fictitious names. Plaintiff is informed and believes, and upon such information
   19
        and belief alleges, that each of the DOE Defendants is in some manner legally
   20
        responsible for the damages suffered by Plaintiff and the Class members as
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        alleged in this Complaint. Defendants shall together be referred to as “Defendants”
   22
        or “Stash.”
   23
                                 JURISDICTION AND VENUE
   24
              10.     This Court has subject matter jurisdiction over this action pursuant to
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        the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), because the total
   26
        matter in controversy exceeds $5,000,000 and there are over 100 members of the
   27
        proposed class. Further, at least one member of the proposed class is a citizen of a
   28
        State within the United States and at least one defendant is the citizen or subject of
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    1   a foreign state.
    2         11.    The Central District of California has specific personal jurisdiction
    3   over Stash. Specific jurisdiction over a non-resident defendant exists where: (1)
    4   “[t]he non-resident defendant . . . purposefully direct[s] [it]s activities or
    5   consummate[s] some transaction with the forum or resident thereof; or perform[s]
    6   some act by which [it] purposefully avails [it]self of the privilege of conducting
    7   activities in the forum, thereby invoking the benefits and protections of its laws;”
    8   (2) the claim is one that “arises out of or relates to” the defendant’s activities in the
    9   forum state; and (3) the exercise of jurisdiction comports with “fair play and
   10   substantial justice, i.e. it must be reasonable.” Schwarzenegger v. Fred Martin
   11   Motor Co., 374 F.3d 797, 802 (9th Cir. 2004). The plaintiff need only establish the
   12   first two prongs, while it is the defendant’s burden to “present a compelling case”
   13   that the exercise of jurisdiction would not be reasonable. Id.
   14         12.    Purposeful Availment. Under the first prong of the three-part test,
   15   “purposeful availment” includes both purposeful availment and purposeful
   16   direction, which are two distinct concepts. Id. Where a case sounds in tort, as here,
   17   courts employ the purposeful direction test. Purposeful direction requires the
   18   defendant have “(1) committed an intentional act, (2) expressly aimed at the forum
   19   state, (3) causing harm that the defendant knows is likely to be suffered in the forum
   20   state.” Morrill v. Scott Fin. Corp., 873 F.3d 1136, 1142 (9th Cir. 2017) (citing
   21   Schwarzenegger, 374 F.3d at 802). On information and belief, Stash regularly sells
   22   its services and financial products to customers in California, including Plaintiff,
   23   who purchased and received access to Stash’s investment platform and services in
   24   Los Angeles County, California. In addition, because Stash does a substantial
   25   amount of business in California, it is knowingly employing an illegal subscription
   26   scheme directed at and harming California residents, including Plaintiff.
   27         13.    Claim Arising Out of Action in the Forum Prong. Under the second
   28   prong of the three-part specific jurisdiction test, personal jurisdiction exists where,

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    1   as here, the claim “arises out of or relates to” the defendant’s activities in the forum
    2   state. Courts in the Ninth Circuit use a “but for” test to determine whether the claim
    3   “arises out of” the nonresident’s forum-related activities. In other words, the test
    4   is satisfied if the plaintiff would not have suffered loss “but for” defendant’s
    5   activities. Ballard v. Savage, 65 F.3d 1495, 1500 (9th Cir. 1995). Here, Stash’s
    6   contact with the forum—knowingly employing an illegal subscription scheme
    7   directed at California residents—is the basis of its violations of various false
    8   advertising statutes. But for Stash’s contact with the forum, Plaintiff (and the
    9   thousands of other individuals who purchased Stash’s deceptively advertised
   10   products and services) would not have suffered harm.
   11         14.    Venue. Venue is proper in the United States District Court for the
   12   Central District of California pursuant to 28 U.S.C. § 1391 because Stash:
   13                a)     is authorized to conduct business in this District and has
   14                       intentionally availed itself of the laws and markets within this
   15                       District;
   16                b)     does substantial business within this District;
   17                c)     is subject to personal jurisdiction in this District because it has
   18                       availed itself of the laws and markets within this District; and
   19                       the injury to Plaintiff occurred within this District.
   20                              GENERAL ALLEGATIONS
   21         15.    On December 17, 2017, Plaintiff signed up for an investment account
   22   through Stash’s website.        It was not until two and a half years later—in
   23   approximately September 2020—that Plaintiff noticed Stash began automatically
   24   billing his credit card $1 monthly.
   25         16.    On or about February 9, 2021, Plaintiff attempted to cancel his Stash
   26   account.    However, Plaintiff faced great difficulty attempting to cancel, and
   27   ultimately gave up. He decided, at the time, that the stress and time involved in
   28   attempting to cancel his Stash account outweighed the $1 monthly charge. So,

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    1   Plaintiff decided to keep his account because doing so—and incurring the $1
    2   monthly charge—was easier than spending even more time and effort attempting
    3   to cancel.
    4            17.   But then, in August 2022—without any prior notice—Stash began
    5   automatically billing Plaintiff’s credit card $3 monthly.
    6            18.   Once Plaintiff noticed the $3 monthly (automatic) charges, he
    7   attempted to cancel his subscription so that no more charges would be made to his
    8   credit card.
    9            19.   However, despite numerous attempts again—including, for example,
   10   searching on Stash’s website for information about how to “cancel,” “close,” or
   11   “delete” his account—Plaintiff was finally able to close his account on June 13,
   12   2023.
   13            20.   On information and belief, it appears many consumers like Plaintiff
   14   have been unable to cancel their Stash accounts (let alone through a cost-effective,
   15   timely, and easy-to-use mechanism for cancellation).
   16            21.   On further information and belief, Stash knowingly makes its
   17   cancellation process extremely difficult and time consuming, knowing that many
   18   consumers like Plaintiff will decide—after attempting to cancel their
   19   subscriptions—that they are better off being charged $1 or $3 monthly than
   20   spending hours upon hours frustratingly trying to cancel their subscriptions.
   21            22.   For example, there are numerous Reddit 1 threads describing the
   22   extreme difficulties consumers face when attempting to cancel their accounts,
   23   including from just several months ago:
   24            ///
   25            ///
   26            ///
   27            ///
   28
        1
            Reddit is an online forum which allows registered users to post content.
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   26   https://www.reddit.com/r/SwagBucks/comments/12mibol/stash_is_a_horrible_sc

   27   am_fighting_for_a_refund_of/.

   28        ///

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    1         23.   Worse, the Better Business Bureau reports “990 complaints closed in
    2   last 3 years,” including “357 complaints closed in last 12 months.”           See
    3   https://www.bbb.org/us/ny/new-york/profile/financial-technology/stash-0121-
    4   167448. Many of the complaints are directed to Stash’s confusing or inadequate
    5   cancellation mechanisms and automatic charges. For example:
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    25         24.   Automatic renewal subscriptions affecting California consumers are
    26   governed by the ARL, Cal. Bus. & Prof. Code §§ 17600, et seq., which requires
    27   companies like Stash to clearly and conspicuously explain “automatic renewal
    28   offer terms,” including by providing the following clear and conspicuous

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     1   disclosures:
     2                    (a) that the subscription or purchasing agreement will continue until the
     3                       consumer cancels;
     4                    (b) the description of the cancellation policy that applies to the offer;
     5                    (c) the recurring charges that will be charged to the consumer’s credit or
     6                       debit card or payment account with a third party as part of the
     7                       automatic renewal plan or arrangement, and that the amount of the
     8                       charge may change, if that is the case, and the amount to which the
     9                       charge will change, if known;
    10                    (d) the length of the automatic renewal term or that the service is
    11                       continuous, unless the length of the term is chosen by the consumer;
    12                       and
    13                    (e) the minimum purchase obligation, if any.
    14   See Cal. Bus. & Prof. Code § 17601(b)(1) – (5).
    15              25.      None of the above disclosures were properly provided to Plaintiff (if
    16   at all).
    17              26.      Stash also failed to provide a means for Plaintiff to cancel by using a
    18   “cost-effective, timely, and easy-to-use mechanism for cancellation.”                   Id., §
    19   17602(b).
    20              27.      Critically, the ARL requires the automatic renewal offer terms must
    21   be presented to the consumer both:
    22                    (a) before the purchasing contract is fulfilled, and in “visual proximity”
    23                       to the request for consent to the offer; and
    24                    (b) clearly and conspicuously, defined by the statute as one or more of the
    25                       following:
    26                         i.   in larger type than the surrounding text;
    27                        ii.   in contrasting type, font, or color to the surrounding text of the
    28                              same size; or

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     1                  iii.   set off from the surrounding text of the same size by symbols
     2                         or other marks in a manner that clearly calls attention to the
     3                         language.
     4   See id., §§ 17602(a)(1) & 17601(c).
     5         28.      Nor does Stash properly disclose (a) any description of the
     6   cancellation policy that applies to the offer; (b) that the recurring charges will be
     7   charged to the consumer’s credit or debit card or payment account with a third party
     8   as part of the automatic renewal plan; or (c) when the consumer will be charged.
     9         29.      In addition, Plaintiff did not receive an ARL-compliant retainable
    10   acknowledgement (e.g., email) explaining or providing (i) the automatic renewal
    11   offer’s terms, (ii) the cancellation policy, and (iii) information about how to cancel
    12   Stash’s services.      All are required by law.    See Cal. Bus. & Prof. Code §
    13   17602(a)(3).
    14         30.      The ARL also requires that “a business that allows a consumer to
    15   accept an automatic renewal or continuous service offer online shall allow a
    16   consumer to terminate the automatic renewal or continuous service exclusively
    17   online, at will, and without engaging any further steps that obstruct or delay the
    18   consumer’s ability to terminate the automatic renewal or continuous service
    19   immediately.” Cal. Bus. & Prof. Code § 17602(d)(1). The online method of
    20   termination must be in the form of either: (a) “[a] prominently located direct link
    21   or button which may be located within either a customer account or profile, or
    22   within either device or user settings,” or (b) “[b]y an immediately accessible
    23   termination email formatted and provided by the business that a consumer can send
    24   to the business without additional information.”         Id.   Stash violated these
    25   provisions, as well.
    26         31.      If Plaintiff had known that Stash was going to enroll him in a program
    27   under which it would automatically renew his purchase for a subsequent term, post
    28   associated charges to his credit card without authorization, and make it impossible

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     1   to cancel, Plaintiff would not have purchased Stash’s services and would not have
     2   paid any money to it.
     3                           CLASS ACTION ALLEGATIONS
     4         32.    Plaintiff brings this action on behalf of himself and all persons
     5   similarly situated pursuant to Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of
     6   Civil Procedure and seeks certification of the following class:
     7         All persons in the United States who purchased a product or service
     8         from Stash as part of an automatic renewal plan or continuous service
     9         offer within the four years prior to the filing of this Complaint.
    10          33.   The above-described class of persons shall hereafter be referred to as
    11   the “Class.” Excluded from the Class are any and all past or present officers,
    12   directors, or employees of Stash, any judge who presides over this action, and any
    13   partner or employee of Class Counsel. Plaintiff reserves the right to expand, limit,
    14   modify, or amend this class definition, including the addition of one or more
    15   subclasses, in connection with his motion for class certification, or at any other
    16   time, based upon, inter alia, changing circumstances and/or new facts obtained
    17   during discovery.
    18         34.    In the alternative, Plaintiff seeks certification of the following class
    19   pursuant to Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure:
    20         All persons in the State of California who purchased a product or
    21         service from Stash as part of an automatic renewal plan or continuous
    22         service offer within the four years prior to the filing of this Complaint.
    23         35.    Numerosity. The Class is so numerous that joinder of all members in
    24   one action is impracticable. The exact number and identities of the members of the
    25   Class is unknown to Plaintiff at this time and can only be ascertained through
    26   appropriate discovery, but on information and belief, Plaintiff alleges that there are
    27   thousands of members of the Class, if not more (e.g., as explained above, Stash’s
    28   website boasts “6M+ Stashers,” see https://www.stash.com/about). But the precise

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     1   number of Class members is unknown to Plaintiff.
     2            36.      Typicality. Plaintiff’s claims are typical of those of other members
     3   of the Class, all of whom have suffered similar harm due to Stash’s course of
     4   conduct as described in this Complaint. Identical to all members of the Class, Stash
     5   (a) enrolled Plaintiff in an automatic renewal and continuous service subscription
     6   without providing clear and conspicuous disclosures as required by California law;
     7   (b) charged Plaintiff for those services without obtaining his affirmative consent;
     8   (c) did not provide Plaintiff with information on how to cancel those services; (d)
     9   did not provide Plaintiff with a cost-effective, timely, and easy-to-use mechanism
    10   for cancellation, nor a method of cancellation required by § 17602; and (e) failed
    11   to send an ARL-compliant retainable acknowledgement consistent with Cal. Bus.
    12   & Prof. Code § 17602(a)(3). Plaintiff is advancing the same claims and legal
    13   theories on behalf of himself and all absent members of the Class. Stash has no
    14   defenses unique to the Plaintiff.
    15            37.      Adequacy of Representation. Plaintiff is an adequate representative
    16   of the Class and will fairly and adequately protect the interests of the Class.
    17   Plaintiff has retained attorneys who are experienced in the handling of complex
    18   litigation and class actions, and Plaintiff and his counsel intend to prosecute this
    19   action vigorously. Plaintiff has no antagonistic or adverse interests to those of the
    20   Class.
    21            38.      Existence and Predominance of Common Questions of Law or
    22   Fact. Common questions of law and fact exist as to all members of the Class that
    23   predominate over any questions affecting only individual members of the Class.
    24   These common legal and factual questions, which do not vary among members of
    25   the Class, and which may be determined without reference to the individual
    26   circumstances of any member of the Class, include, but are not limited to, the
    27   following:
    28                  a) Do Stash’s automatic renewal practices violate the ARL, Cal. Bus &

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     1                    Prof. Code §§ 17600, et seq.?
     2               b) Does Stash violate the CLRA, Cal. Civ. Code §§ 1750, et seq.?
     3               c) Does Stash violate the UCL, Cal. Bus. & Prof. Code §§ 17200, et seq.?
     4               d) Whether the members of the Class are entitled to damages and/or
     5                    restitution.
     6               e) What type of injunctive relief is appropriate and necessary to enjoin
     7                    Stash from continuing its unlawful automatic renewal practices?
     8               f)     Whether Stash’s conduct was undertaken with conscious disregard
     9                      of the rights of the members of the Class and was done with fraud,
    10                      oppression, and/or malice.
    11         39.        Superiority. A class action is superior to other available methods for
    12   the fair and efficient adjudication of this controversy because individual litigation
    13   of the claims of all members of the Class is impracticable. Requiring each
    14   individual class member to file an individual lawsuit would unreasonably consume
    15   the amounts that may be recovered. Even if every member of the Class could afford
    16   individual litigation, the adjudication of at least thousands of identical claims
    17   would be unduly burdensome to the courts. Individualized litigation would also
    18   present the potential for varying, inconsistent, or contradictory judgments and
    19   would magnify the delay and expense to all parties and to the court system resulting
    20   from multiple trials of the same factual issues.
    21         40.        By contrast, the conduct of this action as a class action, with respect
    22   to some or all of the issues presented, presents no management difficulties,
    23   conserves the resources of the parties and of the court system, and protects the
    24   rights of the members of the Class. Plaintiff anticipates no difficulty in the
    25   management of this action as a class action. The prosecution of separate actions
    26   by individual members of the Class may create a risk of adjudications with respect
    27   to them that would, as a practical matter, be dispositive of the interests of the other
    28   members of the Class who are not parties to such adjudications, or that would

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     1   substantially impair or impede the ability of such non-party Class members to
     2   protect their interests.
     3          41.    Ascertainability. Upon information and belief, Stash keeps extensive
     4   computerized records of its sales and customers through, among other things,
     5   databases storing customer orders, customer order histories, customer profiles,
     6   customer loyalty programs, and general marketing programs. Stash has one or
     7   more databases through which a significant majority of members of the Class may
     8   be identified and ascertained, and it maintains contact information, including email
     9   addresses and home addresses (such as billing, mailing, and shipping addresses),
    10   through which notice of this action is capable of being disseminated in accordance
    11   with due process requirements.
    12          42.    The California Class also satisfies each of the class action
    13   requirements set forth above. The allegations set forth above with regards to the
    14   Class, therefore, apply equally to the California Class.
    15                                CLAIMS FOR RELIEF
    16                                  First Cause of Action
    17             Violation of the California Consumers Legal Remedies Act,
    18                Cal. Civ. Code §§ 1750, et seq. (Automatic Renewal Law)
    19                (By Plaintiff Against Defendants on Behalf of the Class)
    20          43.    Plaintiff repeats and re-alleges the allegations contained in every
    21   preceding paragraph as if fully set forth herein.
    22          44.    The CLRA is a California consumer protection statute which allows
    23   plaintiffs to bring private civil actions for “unfair methods of competition and
    24   unfair or deceptive acts or practices undertaken by any person in a transaction . . .
    25   which results in the sale or lease of goods or services to any consumer.” Cal. Civ.
    26   Code § 1770(a). The purposes of the CLRA are “to protect consumers against
    27   unfair and deceptive business practices and to provide efficient and economical
    28   procedures to secure such protection.” Cal. Civ. Code § 1760.

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     1         45.     California enacted the ARL “to end the practice of ongoing charging
     2   of consumer credit or debit cards or third party payment accounts without the
     3   consumers’ explicit consent for ongoing shipments of a product or ongoing
     4   deliveries of service.” Cal. Bus. & Prof. Code § 17600.
     5         46.     Plaintiff and each member of the Class are “consumers” as defined by
     6   California Business & Professions Code section 17601(d). Stash’s sales of its
     7   products and/or services on its website to Plaintiff and the Class were for an
     8   “automatic renewal” within the meaning of California Business & Professions
     9   Code section 17601(a).
    10         47.     Defendants failed to clearly and conspicuously disclose (a) the nature
    11   of the subscription agreement as one that will continue until the consumer canceled,
    12   (b) how to cancel the subscription, (c) the recurring amounts that would be charged
    13   to the consumer’s payment account, (d) the length of the automatic renewal term,
    14   or (e) any minimum purchasing obligation(s).
    15         48.     Defendants have violated several of the ARL’s provisions:
    16               a) Defendants have violated Cal. Bus. & Prof. Code § 17602(a)(1)
    17                 because their offer did not “include a clear and conspicuous
    18                 explanation of the price that will be charged . . .”
    19               b) Defendants have violated Cal. Bus. & Prof. Code § 17602(a)(2) by
    20                 charging consumers’ credit and debit cards without first obtaining
    21                 their “affirmative consent” to the charge.
    22               c) Defendants have violated Cal. Bus. & Prof. Code § 17602(d)(1) by
    23                 failing to “allow a consumer” who “accept[s] an automatic renewal or
    24                 continuous service offer online” to “terminate the automatic renewal
    25                 or continuous service exclusively online, at will, and without
    26                 engaging any further steps that obstruct or delay the consumer's
    27                 ability to terminate the automatic renewal or continuous service
    28                 immediately.”

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     1               d) Defendants have violated Cal. Bus. & Prof. Code § 17602(a)(3) by
     2                 failing to provide a permanently retainable post-transaction
     3                 acknowledgment that allows cancellation before payment.
     4               e) Defendants have violated Cal. Bus. & Prof. Code § 17602(b) by
     5                 failing to provide a cost-effective, timely, and easy-to-use mechanism
     6                 for cancellation.
     7         49.     Through their violations of the ARL, Defendants have violated the
     8   CLRA. See King, 393 F.Supp.3d at 870 (an ARL violation can form the basis for
     9   a CLRA claim); see also Pluralsight, 728 F. App’x at 676–77 (“[Plaintiff’s]
    10   complaint alleges that Pluralsight violated the ARL by charging him without first
    11   providing information on how to cancel the subscription. The record also indicates
    12   that consumers signing up for trial subscriptions were not specifically given
    13   instructions on how to cancel before payment. This amply satisfies the UCL
    14   requirement that an unlawful business practice be any violation of ‘other laws.’”).
    15         50.     As to this cause of action, at this time, Plaintiff seeks only injunctive
    16   relief at this time. Pursuant to Cal. Civ. Code § 1782, in conjunction with the filing
    17   of this action, Plaintiff’s counsel is notifying Defendants by separate letter of the
    18   particular violations of the CLRA and demanding that it correct or agree to correct
    19   the actions described in this Complaint. If Defendants fail to do so, Plaintiff shall
    20   amend his Complaint as of right (or otherwise seek leave to amend the Complaint)
    21   to include compensatory and monetary damages (including punitive damages) to
    22   which Plaintiff and the Class is entitled.
    23                                 Second Cause of Action
    24               Violation of the UCL (Bus. & Prof. Code, §§ 17200, et seq.)
    25                (By Plaintiff Against Defendants on Behalf of the Class)
    26         51.     Plaintiff repeats and re-alleges the allegations contained in every
    27   preceding paragraph as if fully set forth herein.
    28         52.     The UCL prohibits, and provides civil remedies for, “unfair

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     1   competition,” which is defined as “any unlawful, unfair or fraudulent business act
     2   or practice.” The UCL is written in “sweeping language” to include “anything that
     3   can properly be called a business practice and that at the same time is forbidden by
     4   law.” Bank of the West v. Superior Court, 2 Cal.4th 1254, 1264 (1992) (internal
     5   brackets and quotation marks omitted).
     6         53.    The UCL has several substantive “prongs” which are a function of the
     7   statutory definition of “unfair competition.” More specifically, under the UCL,
     8   “unfair competition” includes (i) an “unlawful” business act or practice, (ii) an
     9   “unfair” business act or practice, and (iii) a “fraudulent” business act or practice.
    10   See Bus. & Prof. Code, §§ 17200, et seq.
    11         54.    The “unlawful” prong of the UCL makes a violation of the underlying
    12   law a per se violation of the UCL. “By defining unfair competition to include any
    13   ‘unlawful . . . business act or practice,’ the UCL permits violations of other laws to
    14   be treated as unfair competition that is independently actionable.” Kasky, 27
    15   Cal.4th at 950 (emphasis in original).
    16         55.    Defendants committed “unlawful,” “unfair,” and/or “fraudulent”
    17   business practices by, among other things: (a) enrolling Plaintiff and the Class in
    18   an automatic renewal and continuous service subscription without providing clear
    19   and conspicuous disclosures as required by California law; (b) charging Plaintiff
    20   and the Class for those services without obtaining the requisite affirmative consent;
    21   (c) failing to provide Plaintiff or the Class with information on how to cancel those
    22   services; (d) failing to provide Plaintiff or the Class with a cost-effective, timely,
    23   and easy-to-use mechanism for cancellation, nor a method of cancellation required
    24   by § 17602; and (e) failing to send an ARL-compliant retainable acknowledgement
    25   consistent with Cal. Bus. & Prof. Code § 17602(a)(3). Plaintiff reserves the right
    26   to allege other violations of law that constitute unlawful, unfair, or fraudulent
    27   business acts or practices.
    28         56.    Defendants’ acts and omissions as alleged in this Complaint violate

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     1   obligations imposed by statute, are substantially injurious to consumers, offend
     2   public policy, and are immoral, unethical, oppressive, and unscrupulous as the
     3   gravity of the conduct outweighs any alleged benefits attributable to such conduct.
     4         57.    There were reasonably available alternatives to further Defendants’
     5   legitimate business interests, other than the conduct described in this Complaint.
     6         58.    Defendants’ acts, omissions, nondisclosures, and misleading
     7   statements as alleged in this Complaint were and are false, misleading, and/or likely
     8   to deceive the consuming public.
     9         59.    Plaintiff has suffered injury in fact and lost money as a result of
    10   Defendants’ acts of unfair competition.
    11         60.    Pursuant to § 17203, Plaintiff and all Class members are entitled to
    12   restitution of all amounts Defendants received from them as a result of the
    13   foregoing conduct during the four years preceding the filing of this Complaint and
    14   continuing until Defendants’ acts of unfair competition cease.
    15         61.    Pursuant to § 17203, Plaintiff is entitled to an order enjoining
    16   Defendants from committing further acts of unfair competition.
    17                               PRAYER FOR RELIEF
    18         WHEREFORE, Plaintiff Javier Santiago prays for relief and judgment in
    19   favor of himself and the Classes as follows:
    20         A.     For an order certifying that the action be maintained as a class action,
    21   that Plaintiff be designated the class representative, and that undersigned counsel
    22   be designated as class counsel.
    23         B.     For an injunction putting a stop to the illegal conduct described herein
    24   and ordering Defendants to correct their illegal conduct and refrain from (i)
    25   automatically charging consumers without properly informing them in the future,
    26   and (ii) preventing consumers from cancelling their subscriptions.
    27         C.     For pre- and post-judgment interest and costs of suit incurred herein.
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     1         D.     For attorneys’ fees incurred herein pursuant to California Code of
     2   Civil Procedure section 1021.5, California Civil Code section 1780, or to the extent
     3   otherwise permitted by law.
     4         E.     For such other and further relief as the Court may deem just and
     5   proper.
     6                            DEMAND FOR JURY TRIAL
     7         Plaintiff, on behalf of himself and the Class, hereby demands a trial by jury
     8   pursuant to Federal Rule of Civil Procedure 38(b) on all claims so triable.
     9

    10   DATED: June 27, 2023                      Respectfully submitted,
    11                                              KJC LAW GROUP, A.P.C.
    12                                              By: /s/ Kevin J. Cole
    13                                              Attorneys for Plaintiff
                                                    Javier Santiago
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